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ATTACHMENT C

COMPLIANCE COMMITMENTS

In order to address any deficiencies in its compliance programs,. policies, procedures,
codes of conduct, systems, and internal controls regarding compliance with money laundering,
anti-money laundering, and U.S. sanctions laws, Binance Holdings Limited (the “Company”) on
behalf of itself and its subsidiaries and affiliates involved in the operation of the Binance.com exchange
or with access to the Binance.com orderbook, agrees to continue to conduct, in a manner consistent
with all of its obligations under this Agreement, appropriate reviews of its existing compliance
programs, policies, procedures, codes of conduct, systems, and internal controls, including its anti-
money laundering and U.S. sanctions compliance programs (the “Compliance Programs”).

Where necessary and appropriate, the Company agrees to adopt new, or to enhance
existing Compliance Programs in order to ensure their effectiveness in detecting and deterring
violations of laws prohibiting money laundering, laws requiring anti-money laundering programs,
and laws prohibiting violations of U.S. sanctions. At a minimum, this will include, but not be
limited to, the following elements to the extent they are not already part of the Company’s existing
Compliance Programs:

High-Level Commitment to Compliance

1. The Company will select a new chief executive officer and ensure that
management and the new chief executive officer have a strong commitment to and experience in
compliance.

2. The Company will ensure that its directors and senior management provide strong,
explicit, and visible support and commitment to its Compliance Programs and any other corporate
policy against violations of laws prohibiting money laundering and violations of U.S. sanctions

and demonstrate rigorous adherence by example. The Company will also ensure that all levels of

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management, in turn, reinforce those standards and encourage and incentivize employees to abide
by them. The Company will create and foster a culture of ethics and compliance with the law in
its day-to-day operations at all levels of the Company.

Policies, Procedures, and Internal Controls

3. The Company will develop, enhance, and promulgate a clearly articulated and
visible corporate policy against violations of laws prohibiting money laundering, requiring anti-
money laundering programs, and laws prohibiting violations of U.S. sanctions, which policy shall
be memorialized in writing in the Compliance Programs.

4, The Company will develop, enhance, promulgate, implement, and maintain
Compliance Programs designed to reduce the prospect of violations of the Company’s Compliance
Programs and any other corporate policy against violations of laws prohibiting money laundering
and violations of U.S. sanctions, and the Company will take appropriate measures to encourage
and support the observance of ethics and the requirements of the Compliance Programs by
personnel at all levels of the Company. The Compliance Programs shall apply to all directors,
officers, and employees and, where necessary and appropriate, outside parties acting on behalf of
the Company, including but not limited to, agents and intermediaries, consultants, representatives,
distributors, licensees, contractors and suppliers, and joint venture partners (collectively, “agents
and business partners”). The Company shall notify all employees that compliance with the
Compliance Programs is the duty of individuals at all levels of the Company. Such Compliance
Programs shal] address, among others, the following minimum requirements:

a. .customer onboarding;
b. know your customer and due diligence procedures, including for

customers’ customers;

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sanctions risk;

g.

periodic customer reviews for illicit activity, money laundering and

designation of high-risk customers;
reviews of high-risk customers;
closure of customer accounts;

maintenance of customer files, including records of and about each

customer’s access to and use of the customer’s accounts;

h.

prohibition of business with designated persons, entities, groups,

industries, regions, and countries targeted by U.S. sanctions laws;

k.

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real-time transaction monitoring for suspicious or unlawful activity;
timely response to law enforcement requests and legal process;
filing of suspicious activity reports;

blocking of transactions that violate U.S. sanctions and other laws, the

Compliance Programs, or terms of use where appropriate;

systems;

Programs.

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independent audit of anti-money laundering policies, procedures, and

conflicts of interest;

provision of information to regulators and supervisors;
provision of information to financial institutions;
whistleblowing; and

technological controls to prevent circumvention of the Compliance

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Customer and Third-Party Relationships
5. As part of the Compliance Programs, the Company will institute and/or enhance
appropriate, risk-based know your customer, due diligence, and compliance requirements
pertaining to the acceptance, retention, and oversight of all customers and agents and business
partners, including, among others, the following minimum requirements:

a. properly documented know your customer and due diligence reviews for
all new customers, including customer identity, citizenship, permanent residency status, location
verification, and, for customers that are legal persons, formation, structure, jurisdictional presence,
nature of business, contro] and beneficial ownership verification;

b. properly documented ongoing know your customer and due diligence
reviews of existing customers, and for customers who are legal persons and offer services to their
own customers via the Company, the customer’s customer;

C. properly documented procedures for closing customer accounts;

d. procedures for retaining and sharing information regarding customers and
transactions within the Company and with third parties to the extent permissible under applicable
law;

€. properly documented due diligence pertaining to the hiring and appropriate
and regular oversight of agents and business partners;

f. informing customers of the Company’s commitment to abiding by laws
prohibiting money laundering and laws prohibiting violations of U.S. sanctions;

g. informing employees and, where necessary, agents and business partners,

of the Company’s commitment to abiding by the Compliance Programs and any other corporate

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policy against violations of laws prohibiting money laundering and laws prohibiting violations of
U.S. sanctions; and

h. seeking a reciprocal commitment from agents and business partners.

6. Where necessary and appropriate, and in accordance with applicable law, the
Company will include standard provisions in agreements, contracts, and renewals thereof with all
customers and agents and business partners that are reasonably calculated to prevent violations of
laws prohibiting money laundering and violations of laws prohibiting violations of U.S. sanctions,
which may, depending upon the circumstances, include: (a) representations and undertakings
relating to compliance with applicable laws prohibiting money laundering and laws prohibiting
violations of U.S. sanctions; (b) rights to conduct audits of the books and records of the agent or
business partner to ensure compliance with the foregoing; and (c) rights to seek termination of a
customer or agent or business partner as a result of any breach of the Compliance Programs or any
applicable laws prohibiting money laundering or laws prohibiting violations of U.S. sanctions, or
the representations and undertakings related to such matters.

Anti-Circumvention Controls

7. The Company will implement and/or enhance effective technological controls to
prevent the Compliance Programs from being circumvented. These anti-circumvention controls
will achieve, among others, the following minimum requirements:

a. prevent customers from accessing or using the Company’s services in an
unauthorized or illicit manner, including by misleading the Company regarding the true location
from which the customer uses or accesses the Company’s services;

b. prevent individuals from accessing or using customer accounts who are not

the customer registered with the Company as the account owner or an authorized trader; and

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c. prevent customers from conducting transactions in a manner designed to
circumvent transaction monitoring and know-your-customer policies, procedures, and controls.
Periodic Risk-Based Review

8. The Company will develop, maintain, and enhance the Compliance Programs on
the basis of regular, periodic risk assessments addressing the individual circumstances of the
Company, in particular, the money laundering and U.S. sanctions risks facing the Company,
including, but not limited to, its Internet-based operations in and exposure to multiple jurisdictions,
geographical decentralization, involvement in joint venture and licensing arrangements, and
degree of governmental oversight and inspection.

9. The Company shall review its Compliance Programs no less than annually and
update them as appropriate to ensure their continued effectiveness and risk-tailored resource
allocation, taking into account lessons learned, relevant developments in the field, and evolving
industry standards.

Proper Oversight and Independence

10, The Company will assign responsibility to one or more senior corporate executives
of the Company for the implementation and oversight of the Company’s Compliance Programs.
Such corporate official(s) shall have the authority to report directly to independent monitoring
bodies, including internal audit, or any appropriate management committee, or executives, and
shall have an adequate level of autonomy from management as well as sufficient resources and

authority to maintain such autonomy. The executives responsible for the implementation and

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oversight of the Company’s Compliance Programs, including, e.g., those with approval authority
or certification responsibilities, will be highly qualified and experienced within the field.
Training and Guidance

11. The Company will implement and/or enhance mechanisms designed to ensure that
its Compliance Programs are effectively communicated to all directors, officers, employees, and,
where necessary and appropriate, agents and business partners. These mechanisms shall include:
(a) periodic training for all directors and officers, all employees in positions of leadership or trust,
positions that require such training (e.g., internal audit, sales, legal, compliance, finance, customer
service, product engineering and development), and, where necessary and appropriate, agents and
business partners; and (b) corresponding certifications by all such directors, officers, employees
and agents and business partners, certifying compliance with the training requirements.

12. The Company will establish an effective system for providing guidance and advice
to directors, officers, employees, and, where necessary and appropriate, agents and business
partners, on complying with the Company’s Compliance Programs, including when they need
advice on an urgent basis.

Internal Reporting and Investigation

13. The Company will maintain, or where necessary establish, an effective system for
internal and, where possible, confidential reporting by, and protection of, directors, officers,
employees, and, where appropriate, agents and business partners concerning violations of laws
prohibiting money laundering and laws prohibiting violations of U.S. sanctions or the Compliance

Programs.

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14. The Company will implement mechanisms designed to ensure that the system for
internal and, where possible, confidential reporting is effectively communicated to all directors,
officers, employees, and, where necessary and appropriate, agents and business partners.

15. The Company will maintain, or where necessary establish, an effective and reliable
process with sufficient resources for responding to, investigating, and documenting allegations of
violations of laws prohibiting money laundering and violations of U.S. sanctions or the
Compliance Programs.

Enforcement and Discipline

16. The Company will implement and/or enhance mechanisms designed to effectively
enforce the Compliance Programs. Such mechanisms shall appropriately incentivize compliance
and discipline violations.

17, The Company will institute appropriate disciplinary procedures to address, among
other things, violations of laws prohibiting money laundering and violations of U.S. sanctions and
the Compliance Programs by the Company’s directors, officers, and employees. Such procedures
should be applied consistently and fairly, regardless of the position held by, or perceived
importance of, the director, officer, or employee. The Company shall implement procedures to
ensure that where misconduct is discovered, reasonable steps are taken to remedy the harm
resulting from such misconduct, and to ensure that appropriate steps are taken to prevent further
similar misconduct, including assessing the Compliance Programs and making modifications
necessary to ensure the Compliance Programs are effective.

18. The Company will ensure that its compensation and bonus system, including any
compensation provision in any employment or consulting contract, is designed to incentivize

adherence to the Company’s Compliance Programs and any other corporate policy against

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violations of laws prohibiting money laundering and violations of U.S. sanctions, including the
following minimum requirements:

a. prohibitions on bonuses for employees who do not satisfy compliance
performance requirements;

b. compensation clawback provisions permitting the Company to recoup
compensation paid to employees who (i) violate applicable law, and (ii) had supervisory authority
over the employee(s) or business area engaged in the misconduct and knew of, or were willfully
blind to, the misconduct; and

c. compensation incentives for employees who demonstrate full commitment
to compliance processes.

19. The Company will not permit any person to participate, directly or indirectly,
formally or informally, in managing or operating the business of the Company who has been
convicted of a crime related to the conduct set forth in the Statement of Facts.

20. The Company will continue its internal review of the involvement of the
Company’s directors, officers, employees and agents in the conduct described in the Statement of
Facts. Once the internal review is complete and based on its findings, the Company shall take such
disciplinary action against any of the Company’s directors, officers, employees and agents found
to have engaged in misconduct as may be appropriate under the circumstances.

Mergers and Acquisitions

21. The Company will develop and implement policies and procedures for mergers

and acquisitions requiring that the Company conduct appropriate risk-based due diligence on

potential new business entities by legal, accounting, and compliance personnel.

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22. The Company will ensure that the Compliance Programs apply as quickly as is
practicable to newly acquired businesses or entities merged with the Company that will be
involved in the operation of the Binance.com exchange or with access to the Binance.com orderbook,
and will promptly:

a. train the directors, officers, employees and agents and business partners
consistent with Paragraph 11 above on laws prohibiting money laundering and violations of U.S.
sanctions and the Compliance Programs;

b. ensure that any newly acquired businesses or entities are properly
integrated into the Company’s existing information technology systems and subject to appropriate
oversight by the Company, including but not limited to any Compliance Programs-related systems
and any electronic communication systems or oversight; and

c. where warranted, conduct an audit specific to laws prohibiting money
laundering and violations of U.S. sanctions of all newly acquired or merged businesses as quickly
as practicable.

Monitoring, Testing, and Audit

23. The Company will conduct periodic reviews and testing of the Compliance
Programs designed to evaluate and improve their effectiveness in preventing and detecting
violations of laws prohibiting money laundering and violations of U.S. sanctions, taking into
account relevant developments ‘in the field, evolving industry standards, and technological
developments.

24. The Company will ensure that the testing or audit function is accountable to senior
management, is independent of the audited activities and functions, and has sufficient authority,

skills, expertise, resources, and authority within the organization.

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25. The Company will ensure that it employs testing or audit procedures appropriate
to the level and sophistication of the Compliance Programs and that this function, whether
deployed internally or by an external party, reflects a comprehensive and objective assessment of
the Company’s anti-money laundering, and U.S. sanctions-related risks and internal controls.

26. The Company will ensure that, upon learning of an adverse testing result or audit
finding pertaining to its Compliance Programs, it will take immediate and effective action, to the
extent possible, to identify and implement compensating controls until the root cause of the

weakness can be determined and remediated.
